                                                                                        Case 5:19-cv-03246-EJD Document 7 Filed 08/02/19 Page 1 of 2



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                                                                               8 Attorneys for FRANCIS BURGA and
                                                                                 FRANCIS BURGA AS THE ADMINISTRATOR
                                                                               9 OF THE ESTATE OF MARGELUS BURGA
              SIDEMAN & BANCROFT LLP




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                                                                                                                       UNITED STATES DISTRICT COURT
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




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                                                                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                             SAN JOSE DIVISION
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LAW OFFICES




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                                                                                   UNITED STATES OF AMERICA,                          Case No. 5:19-cv-03246 EJD
                                                                              15
                                                                                                         Plaintiff,                   STIPULATION TO EXTEND TIME FOR
                                                                              16
                                                                                                                                      DEFENDANTS TO RESPOND TO
                                                                              17            v.                                        COMPLAINT

                                                                              18 FRANCIS BURGA and FRANCIS BURGA                      Honorable Edward J. Davila
                                                                                 AS THE ADMINISTRATOR OF THE
                                                                              19 ESTATE OF MARGELUS BURGA,

                                                                              20
                                                                                                         Defendants.
                                                                              21
                                                                              22

                                                                              23            Pursuant to Local Rule 6-1(a), Defendants FRANCIS BURGA and FRANCIS BURGA
                                                                              24 AS THE ADMINISTRATOR OF THE ESTATE OF MARGELUS BURGA (together,
                                                                              25 “Defendants”) and Plaintiff the UNITED STATES OF AMERICA (the “Government”) by and

                                                                              26 through their undersigned counsel, stipulate and agree to extend the deadline for Defendants to file

                                                                              27 their response to the Government’s Complaint to October 18, 2019. The parties had previously

                                                                              28 agreed to extend the deadline for the Defendants to file their response to the Government’s
                                                                                   6729-3\4097243v1 v1                            1                    Case No. 5:19-cv-03246 EJD
                                                                                                 STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO COMPLAINT
                                                                                        Case 5:19-cv-03246-EJD Document 7 Filed 08/02/19 Page 2 of 2



                                                                               1 Complaint to August 16, 2019. This second extension will not alter the date of any event or any

                                                                               2 deadline already fixed by Court order.

                                                                               3 DATED: August 2, 2019                           SIDEMAN & BANCROFT LLP

                                                                               4
                                                                                                                                 By:          /s/ Jay R. Weill
                                                                               5
                                                                                                                                       Jay R. Weill
                                                                               6                                                       Attorneys for FRANCIS BURGA and FRANCIS
                                                                                                                                       BURGA AS THE ADMINISTRATOR
                                                                               7                                                       OF THE ESTATE OF MARGELUS BURGA
                                                                               8
                                                                                   DATED: August 2, 2019                         RICHARD E. ZUCKERMAN
                                                                               9                                                 Principal Deputy Assistant Attorney General
              SIDEMAN & BANCROFT LLP




                                                                              10
                                                                                                                                 By:          /s/ Amy Matchison
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11                                                       Amy Matchison
                                                                                                                                       Trial Attorney, Tax Division
                                                                              12                                                       United States Department of Justice
                                                                              13
LAW OFFICES




                                                                              14                                             ATTESTATION
                                                                              15            Pursuant to Civil Local Rule 5.1., I hereby attest that all counsel represented by conformed
                                                                              16 signatures above have concurred in the filing of this Stipulation.

                                                                              17 DATED: August 2, 2019                     SIDEMAN & BANCROFT LLP
                                                                              18
                                                                                                                           By:          /s/ Jay R. Weill
                                                                              19                                                 Jay R. Weill
                                                                                                                                 Attorneys for Respondents FRANCIS BURGA;
                                                                              20                                                 FRANCIS BURGA AS THE ADMINISTRATOR OF
                                                                                                                                 THE ESTATE OF MARGELUS BURGA
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                                                                                   6729-3\4097243v1 v1                           2                    Case No. 5:19-cv-03246 EJD
                                                                                                STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO COMPLAINT
